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 7                          UNITED STATES DISTRICT COURT
 8                       SOUTHERN DISTRICT OF CALIFORNIA
 9                      (HONORABLE JANIS L. SAMMARTINO)
10   UNITED STATES OF AMERICA,                    CASE NO.: 22-cr-1004-JLS
11                        Plaintiff,
12         v.
13   KENNEDY CARR,                                ORDER GRANTING JOINT MOTION
                                                  TO CONTINUE MOTION HEARING
14                        Defendant.              TRIAL SETTING
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            For good cause shown and upon joint motion of the parties, IT IS HEREBY
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     ORDERED that the motion hearing trial setting currently set for June 3, 2022, at 1:30
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     p.m. be continued to July 15, 2022 at 1:30 p.m. It is further ordered that, for the reasons
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     stated in the parties’ motion, time is excluded under the Speedy Trial Act.
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21          IT IS SO ORDERED.
22   Dated: May 31, 2022
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